Case: 4:17-cr-00234-RLW Doc. #: 1958 Filed: 04/07/22 Page: 1 of 2 PageID #: 7620




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                 Plaintiff,                    )
                                               )
v.                                             ) No. 4:17 CR 234 RLW
                                               )
MOHAMMED ALMUTTAN,                             )
                                               )
                 Defendant.                    )

                      GOVERNMENT’S MOTION TO DISMISS COUNTS

          Comes now the United States of America, by and through its attorneys, Sayler A.

Fleming, United States Attorney for the Eastern District of Missouri, and John J. Ware, Assistant

United States Attorney for said district, and moves to dismiss counts and in support thereof

states:

          Pursuant to a guilty plea agreement between the parties and defendant’s entry of a guilty

plea, the Government moves to dismiss, without prejudice, Counts 2, 3, 4, 14, and 34 as to

Defendant Mohammed Almuttan.

          Wherefore, the Government moves the Court to dismiss the above-referenced counts.

                                               Respectfully submitted,

                                               SAYLER A. FLEMING
                                               United States Attorney

                                               /s/ John J. Ware
                                               JOHN J. WARE, #40880MO
                                               Assistant United States Attorney
                                                            th
                                               111 South 10 Street, Room 20.333
                                               St. Louis, MO 63102
                                               (314) 539-2200
Case: 4:17-cr-00234-RLW Doc. #: 1958 Filed: 04/07/22 Page: 2 of 2 PageID #: 7621




                                 CERTIFICATE OF SERVICE

I hereby certify that on April 7, 2022, the foregoing was filed electronically with the Clerk of
Court to be served by operation of the Court’s electronic filing system upon all counsel of
record.


                                               /s/ John J. Ware
                                              JOHN J. WARE, #40880MO
                                              Assistant United States Attorney
